       Case 18-01938               Doc 43           Filed 04/25/18 Entered 04/25/18 12:07:56                       Desc Ch 7 First
                                                        Mtg I/J POC Page 1 of 2
Information to identify the case:
Debtor 1              Kinga Politanska                                                  Social Security number or ITIN        xxx−xx−8548
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Northern District of Illinois                 Date case filed in chapter 11                1/23/18

Case number:          18−01938                                                          Date case converted to chapter 7            4/11/18


Official Form 309B (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− Proof of Claim Deadline Set                                                                        12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Kinga Politanska

2.      All other names used in the
        last 8 years

3.     Address                               1429 Granville Avenue
                                             Park Ridge, IL 60068

4.     Debtor's attorney                     Ariel Weissberg                                        Contact phone (312) 663−0004
                                             Weissberg & Associates, Ltd                            Email: ariel@weissberglaw.com
       Name and address                      401 S. LaSalle Street
                                             Suite 403
                                             Chicago, IL 60605

5.     Bankruptcy trustee                    Steven R Radtke                                        Contact phone 312−346−1935
                                             Chill, Chill & Radtke PC                               Email: sradtke@chillchillradtke.com
       Name and address                      79 W Monroe Street Suite 1305
                                             Chicago, IL 60603
                                                                                                               For more information, see page 2 >
Official Form 309B (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− Proof of Claim Deadline Set                   page 1
       Case 18-01938                 Doc 43           Filed 04/25/18 Entered 04/25/18 12:07:56                                    Desc Ch 7 First
                                                          Mtg I/J POC Page 2 of 2
Debtor Kinga Politanska                                                                                                              Case number 18−01938

6. Bankruptcy clerk's office                Eastern Division                                                         Hours open : 8:30 a.m. until 4:30
                                            219 S Dearborn                                                           p.m. except Saturdays, Sundays
   Documents in this case may be            7th Floor                                                                and legal holidays.
   filed at this address. You may           Chicago, IL 60604
   inspect all records filed in this case                                                                             Contact phone 1−866−222−8029
   at this office or online                                                                                          Date: 4/25/18
   at www.pacer.gov.

7. Meeting of creditors                     May 14, 2018 at 03:00 PM                                                 Location:

   Debtors must attend the meeting to       The meeting may be continued or adjourned to a later                     219 South Dearborn, Office of the
   be questioned under oath. In a joint     date. If so, the date will be on the court docket. Debtors               U.S. Trustee, 8th Floor, Room
   case, both spouses must attend.
   Creditors may attend, but are not        must bring a picture ID and proof of their Social                        800, Chicago, IL 60604
   required to do so.                       Security Number.
8. Presumption of abuse                     The presumption of abuse does not arise.

   If the presumption of abuse arises,
   you may have the right to file a
   motion to dismiss the case under
   11 U.S.C. § 707(b). Debtors may
   rebut the presumption by showing
   special circumstances.

9. Deadlines                                File by the deadline to object to discharge or to                         Filing deadline: 7/13/18
                                            challenge whether certain debts are dischargeable:
   The bankruptcy clerk's office must
   receive these documents and any
   required filing fee by the following     You must file a complaint:
   deadlines.
                                            • if you assert that the debtor is not entitled to
                                              receive a discharge of any debts under any of the
                                              subdivisions of 11 U.S.C. § 727(a)(2) through (7), or

                                            • if you want to have a debt excepted from discharge
                                              under 11 U.S.C § 523(a)(2), (4) or (6).

                                            You must file a motion:
                                            • if you assert that the discharge should be denied
                                              under § 727(a)(8) or (9).

                                            Deadline for all creditors to file a proof of claim                       Filing deadline: 6/20/18
                                            (except governmental units):
                                            Deadline for governmental units to file a proof of                        Filing deadline: 7/23/18
                                            claim:

                                            Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                            at www.uscourts.gov or any bankruptcy clerk's office. If you do not file a proof of claim by the deadline, you might
                                            not be paid on your claim. To be paid, you must file a proof of claim even if your claim is listed in the schedules
                                            that the debtor filed.
                                            Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                            claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                                            example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including the
                                            right to a jury trial.


                                            Deadline to object to exemptions:                                         Filing deadline: 30 days after the
                                            The law permits debtors to keep certain property as exempt. If you        conclusion of the meeting of creditors
                                            believe that the law does not authorize an exemption claimed, you
                                            may file an objection.

10. Creditors with a foreign                 If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
    address                                  asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                             United States bankruptcy law if you have any questions about your rights in this case.
11. Liquidation of the debtor's              The bankruptcy trustee listed on the front of this notice will collect and sell the debtor's
    property and payment of                  property that is not exempt. If the trustee can collect enough money, creditors may be paid
    creditors' claims                        some or all of the debts owed to them in the order specified by the Bankruptcy Code. To
                                             ensure you receive any share of that money, you must file a proof of claim as described
                                             above.
12. Exempt property                          The law allows debtors to keep certain property as exempt. Fully exempt property will not be
                                             sold and distributed to creditors. Debtors must file a list of property claimed as exempt. You
                                             may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you
                                             believe that the law does not authorize an exemption that the debtors claim, you may file an
                                             objection. The bankruptcy clerk's office must receive the objection by the deadline to object
                                             to exemptions in line 9.
Official Form 309B (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− Proof of Claim Deadline Set                                    page 2
